          Case 1:21-mc-91020-WGY Document 3 Filed 02/01/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTES



  DIANA MEY, on behalf of herself and others
  similarly situated,

         Plaintiff,

  v.                                                      Miscellaneous Business Docket
                                                          No. ___________
                                                               21-mc-91020-WGY
  ADT, INC.,
  SAFE STREETS USA, LLC, and                              (in aid of Mey v. ADT, Inc.,
  PERFECTVISION MANUFACTURING, INC.,                      Safe Streets, USA, LLC and PerfectVision
                                                          Manufacturing, Inc.,
         Defendants.                                      Northern District of West Virginia,
                                                          Civil Action No. 5:20-cv-00209-JPB


                                           ORDER

        Before this Court is Plaintiff’s Motion to Compel Eblubox LLC to Respond to Plaintiff’s

Subpoena to Produce Documents (“Motion”).

        WHEREAS Rule 45 of the Federal Rules of Civil Procedure permits that a non-party can

be compelled to produce documents in response to a subpoena; and

        WHEREAS Plaintiff Mey has issued a properly served on Eblubox a Subpoena to

Produce Documents; and

        WHEREAS Eblubox has not responded to Plaintiff’s subpoena, Plaintiff’s Motion is

GRANTED. Eblubox is hereby ORDERED to respond to Plaintiff’s subpoena on or before 7-- 14

days from the date of this order.

        This the ____
                  1st day of ________________,
                              February         2021.



                                                      /s/ William G. Young
                                                       UNITED STATES DISTRICT JUDGE

***** Save for paragraph two which is over broad.
